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                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI`I

  UNITED STATES OF AMERICA,                 CR. NO. 22-00060 LEK

              Plaintiff,                    DEFENDANT MORRISON’S
      vs.                                   JOINDER TO DEFENDANT
                                            PRIMROSE’S MOTION FOR
  WALTER GLENN PRIMROSE, aka                REVOCATION OF DETENTION
  “Bobby Edward Fort,” and                  ORDER AND APPEAL OF
                                            DETENTION ORDER, FILED
  GWYNN DARLE MORRISON, aka                 AUGUST 11, 2022 AS DOC. 36;
  “Julie Lyn Montague,”                     CERTIFICATE OF SERVICE

              Defendants.


DEFENDANT MORRISON’S JOINDER TO DEFENDANT PRIMROSE’S MOTION
 FOR REVOCATION OF DETENTION ORDER AND APPEAL OF DETENTION
            ORDER, FILED AUGUST 11, 2022 AS DOC. 36

    On August 11, 2022, Defendant Primrose filed Motion for Revocation of Detention

 Order and Appeal of Detention Order as document 36 (“Motion”). Pursuant to

 CrimLR12.3 and LR7.7, Defendant Morrison hereby joins that motion. Morrison

 hereby seeks the same relief sought by Primrose for herself.
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    As a matter of background, on July 21, 2022, the government filed a Criminal

Complaint against defendants Primrose and Morrison. On July 25, 2022, the

government filed a Motion to Detain Defendants Without Bail [Doc. 10]. Both

defendants were ordered to be held without bail. On August 11, 2022, Primrose filed

this Motion. As discussed in the Motion, “the government’s arguments, in tandem with

its submission of the photographs, have had the intended effect of portraying Mr.

Primrose and his co-defendant as Russian spies.”1

    The Motion should be granted because the argument that Morrison is a flight risk is

even more attenuated than the argument that Primrose is likely to flee. The only

arguments made in support of holding Morrison without bail are: (1) “It is believed

that the defendants may have established aliases other than . . . Julie Lyn Montague.”2;

(2) “A close associate of defendant Morrison advised federal agents that Morrison,

sometime ago, lived in Romania.”3; and (3) “Federal agents have also seized

photographs from the defendants’ residence that depict the defendants apparently some

years ago wearing what have been identified as KGB uniforms.”4

    First, as argued at the detention hearing, the government fails to indicate what

established aliases Morrison has used. Secondly, the government fails to name the



1
  Motion at 12.
2
  Motion to Detain Defendants Without Bail [Doc. 10] at 2.
3
  Id. at 2-3.
4
  Id. at 3.

                                          2
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“close associate” who advised that Morrison allegedly lived in Romania. And the

government has failed to allege when—if at all—Morrison allegedly lived there.

Thirdly, the Government has clearly back peddled from its initial reliance on the KGB

photo. To date, there has been only one photograph turned over to the defense—not

multiple photographs. Moreover, the government has now admitted that there was only

one jacket and hat, and that Primrose and Morrison seem to be posing wearing the

same uniform. The government has apparently obtained that sole uniform from its

owner—neither Primrose nor Morrison.

   For these reasons and for the reasons stated in the Motion, the defense respectfully

asks to release Morrison under a condition or combination of conditions (also

discussed in the pending Motion) that will reasonably assure her appearance.

            DATED: Honolulu, Hawai`i, August 15, 2022

                                       /s/ Megan K. Kau
                                      Megan K. Kau
                                      Attorney for Defendant
                                      Gwynn Darle Morrison




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                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI`I

UNITED STATES OF AMERICA,                   CR. NO. 22-00060 LEK

              Plaintiff,                    CERTIFICATE OF SERVICE
     vs.

WALTER GLENN PRIMROSE, aka
“Bobby Edward Fort,” and

GWYNN DARLE MORRISON, aka
“Julie Lyn Montague,”

              Defendants.


                             CERTIFICATE OF SERVICE

   I hereby certify that, upon filing, a true and correct copy of the foregoing will

be personally served on the following at their last known addresses:

   THOMAS MUEHLECK                                        via CM/ECF
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      United States of America
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           DATED: Honolulu, Hawai`i, August 15, 2022

                                    /s/ Megan K. Kau
                                   Megan K. Kau
                                   Attorney for Defendant
                                   Gwynn Darle Morrison




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